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                                                                                   2017 Jun-26 PM 03:29
                                                                                   U.S. DISTRICT COURT
                                                                                       N.D. OF ALABAMA


                   UNITED STATES DISTRICT COURT
              FOR THE NORTHERN DISTRICT OF ALABAMA
                         EASTERN DIVISION
STATE FARM FIRE AND                           )
CASUALTY COMPANY,                             )
                                              )
      Plaintiff,                              )
                                              )    Case No.: 1:17-cv-00667-SGC
v.                                            )
                                              )
FREIDA GARRETT, et al.,                       )
                                              )
      Defendants.                             )

                                DISMISSAL ORDER
      On June 22, 2017, a joint stipulation of dismissal was filed, signed by State

Farm Fire and Casualty Company and Ditech Financial, LLC, the only parties

which have appeared in the above-captioned matter.              (Doc. 10).    The joint

stipulation also includes a notice of dismissal of all claims and crossclaims asserted

against    Freida   Garrett   and    Isaiah       S.   McMillian,   the   non-appearing

defendants/cross-claim defendants. Accordingly, all claims asserted in this matter

are DISMISSED WITH PREJUDICE. FED. R. CIV. P. 41(a)(1)(A). The parties

shall bear their respective costs.

      DONE this 26th day of June, 2017.



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                                                   STACI G. CORNELIUS
                                                   U.S. MAGISTRATE JUDGE
